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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                              )
                                                        )
          Plaintiff,                                    )
                                                        )
 v.                                                     ) No. 4:22CR0532 SEP
                                                        )
 DEMETRIUS JOHNSON,                                     )
                                                        )
          Defendant.                                    )



              NOTICE OF INTENT NOT TO FILE SUPPLEMENTAL MOTION

         COMES NOW Federal Public Defender Nanci H. McCarthy, and states that after

reviewing Defendant’s pro se motion, his Presentence Investigation Report, and other

relevant documents, the undersigned has concluded that Defendant’s pro se motion

requires no further supplementation from the undersigned and therefore, the undersigned

will not be filing anything further on Defendant’s behalf.

         WHEREFORE, the undersigned states that no supplemental motion is forthcoming.


                                       Respectfully submitted,


                                       /s/Nanci H. McCarthy
                                       NANCI H. MCCARTHY, #45443MO
                                       Federal Public Defender
                                       1010 Market Street, Suite 200
                                       St. Louis, Missouri 63101
                                       Telephone: (314) 241-1255
                                       Fax: (314) 421-3177
                                       E-mail: Nanci_McCarthy@fd.org

                                       ATTORNEY FOR DEFENDANT
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                             CERTIFICATE OF SERVICE


I hereby certify that on April 18, 2025, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system the
United States Attorney’s Office.



                                     /s/Nanci H. McCarthy
                                     NANCI H. MCCARTHY, #45443MO
                                     Federal Public Defender
